To: RO EN OSt 7 SME ER A158 64-6 Filed: 01/31/25 Page 1 of 2- Page ID #1140

From:

Sent: Thur 9/26/2024 3:22:24 PM

Subject Re: Payables

Received: Thur 9/26/2024 3:22:43 PM
103124 balance AP checks to write.ods

It appears that about 120k is due by Monday

| attached that portion which gets a check written, several should go out today with a 9/26 pay date but
likely won't mail until weekend.

And another 100k or so first of the month

Are the payables paid electronically or physical check ?

So there will be a payroll next week as well I'm assuming for Drivers loads delivering this week.

Yes, they'll need paid for any loads delivering by Mon Sep 30

How do you want to handle the $81k or so unused vacation immediately due to office/shop
employees?

How do you want to handle the termination communication with TLC to set the COBRA notices, etc. in
motion?

Thelma and Ricky are going to try to assist

From: Rick Fernandez <RickF@rdtintermodal.com>

Sent: Thursday, September 26, 2024 9:45 AM

To: Tony Glenn <tony@daws-trucking.com>; Thelma Vazquez <ThelmaV@rdtintermodal.com>
Cc: Ricky Fernandez <r.d.fernandez2@gmail.com>

Subject: Payables

Good morning Tony

I ran a paybles report on keystone

It appears that about 120k is due by Monday

And another 100k or so first of the month

Are the payables paid electronically or physical check ?

So there will be a payroll next week as well I'm assuming for Drivers loads delivering this week.
Thelma and Ricky are going to try to assist

Thank you

Rick

Sent via the Samsung Galaxy $21+ 5G, an AT&T 5G smartphone

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4:24-cv-03177-SMB-MDN Doc#64-6 Filed: 01/31/25 Page 2of2-PageID#1141
